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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 ERIC STAFFORD,
                       Plaintiff,
            v.                                             CIVIL ACTION NO. 17-4010

 MICHAEL WENEROWICZ, et al.,
                       Defendants.


                                           ORDER

       AND NOW, this 25th day of September 2020, upon consideration of Defendants Michael

Wenerowicz, Cynthia Link, Gerald Galinski, Joseph Korszniak, Bob Grossman, Barbara March,

Barbara Herbst, David Witmer, David Mascellino, and Christopher Oppman Motion for

Summary Judgment [Doc. No. 52], and the responses thereto, and for the reasons stated in the

accompanying Memorandum Opinion, it is hereby ORDERED that the Defendants’ Motion for

Summary Judgment is GRANTED. The Clerk of Court is directed to CLOSE this case.

It is so ORDERED.

                                                   BY THE COURT:
                                                   /s/ Cynthia M. Rufe
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                                                   CYNTHIA M. RUFE, J.
